Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 1 of 7
Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 2 of 7
Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 3 of 7
Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 4 of 7
Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 5 of 7
Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 6 of 7
Case 19-30658   Doc 26   Filed 08/02/19 Entered 08/02/19 08:40:31   Desc Main
                           Document     Page 7 of 7
